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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                 4:14CR3031-2

      vs.
                                                                    ORDER
ALISON R. TRUEBLOOD,

                      Defendant.

       The court has received a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of Defendant’s request for appointed counsel. After a review
of the Financial Affidavit, the court finds the above-named defendant is currently eligible
for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
Amended Criminal Justice Act Plan for the District of Nebraska.

       Accordingly,

       IT IS ORDERED:
       1)     The Federal Public Defender for the District of Nebraska is appointed, and
              John Vanderslice shall promptly enter an appearance as counsel for the
              above named defendant.

       2)     The Clerk shall provide a copy of this order to the Federal Public Defender
              for the District of Nebraska and to the appointed attorney.

       March 26, 2014.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
